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11                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12                                  OAKLAND DIVISION
13   In re Google RTB Consumer Privacy             Case No. 4:21-cv-02155-YGR
14   Litigation

15                                                 PLAINTIFFS’ ADMINISTRATIVE
                                                   MOTION FOR LEAVE TO FILE A
16   This document applies to all actions.         RESPONSE TO GOOGLE’S OBJECTIONS
                                                   TO PLAINTIFFS’ EVIDENCE IN SUPPORT
17                                                 OF CLASS CERTIFICATION REPLY
                                                   BRIEFING (ECF 628)
18
19                                                 CIVIL L.R. 7-3(d); 7-11

20                                                 Judge: Hon. Yvonne Gonzalez Rogers
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 1 I.       INTRODUCTION AND STATEMENT OF RELIEF SOUGHT

 2          Pursuant to Civil Local Rules 7-3(d) and 7-11, and for the reasons set forth herein and in the

 3 accompanying Declaration of Elizabeth C. Pritzker (“Pritzker Decl.”), plaintiffs respectfully request leave

 4 to file a response to Defendant Google, LLC’s Evidentiary Objections, dated December 6, 2023. ECF No.

 5 628 (the “Objections”). Plaintiffs’ proposed response is attached as Exhibit A to the accompanying

 6 Pritzker Declaration. A proposed order granting leave also accompanies this motion.

 7 II.      COMPLIANCE WITH CIVIL LOCAL RULE 7-11(a)

 8            Plaintiffs conferred with Google’s counsel as required by Civil Local Rule 7-11(a). As of the filing
 9 of this motion, Google has not provided plaintiffs with its position on the motion. Pritzker Decl. ¶ 4.

10 III.     ARGUMENT
11          By way of a short set of evidentiary objections to which plaintiffs have no automatic right to reply,
12 Google seeks to strike large portions, or even the entirety of, four of plaintiffs’ class certification rebuttal

13 reports, including the rebuttal reports of Prof. Wilson, Dr. Zeithammer, Prof. Richards, and Mr. Regan.

14 Google also seeks to extensively supplement the record with respect to the deposition testimony of two

15 Google corporate witnesses and one of plaintiffs’ experts cited by plaintiffs in their reply papers on the

16 grounds that what plaintiffs submitted is incomplete because elsewhere in those depositions, the witnesses

17 may have said things contradictory or more favorable to Google.

18          Plaintiffs seek leave of Court to file a short response to Google’s Objections because those

19 Objections misstate the record and misapply the applicable law. Contrary to what Google claims in its

20 Objections, the expert testimony it seeks to strike is proper rebuttal testimony. It directly responds to the

21 opinions expressed by Google’s experts and to the extensive new evidence Google only produced with its

22 opposition to plaintiffs’ class certification motion. The law is nowhere as confined as Google represents it

23 to be in its Objections, and plaintiffs’ experts’ rebuttal testimony is well within what is allowed as proper

24 rebuttal testimony. Plaintiffs’ experts also are not providing “improper opinion testimony,” as Google

25 contends. Finally, there is nothing misleading or incomplete about how plaintiffs cited to the deposition

26 testimony of Google’s corporate witnesses and plaintiffs’ expert, and the mere fact that those witnesses

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 1 may have said something elsewhere in their testimony that is more favorable to Google is not a license for

 2 Google to now attempt to rehabilitate those witnesses with the late submission of their testimony.

 3          As a matter of fairness, and given the extent to which Google seeks to materially change the class

 4 certification record by way of its Objections, plaintiffs should be allowed the opportunity to respond to the

 5 Objections.

 6 IV.      CONCLUSION

 7          If the Court does not strike the Objections, for the reasons set forth above, plaintiffs respectfully

 8 request leave to file the proposed response attached as Exhibit A to the Pritzker Declaration.
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10 DATED: December 12, 2023                       Respectfully submitted,
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